  Case 2:17-bk-11972-RK          Doc 76 Filed 01/17/18 Entered 01/17/18 11:33:15                                           Desc
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 1 ROSENDO GONZALEZ, TRUSTEE (State Bar No. 137352)
   530 South Hewitt Street, Suite 148
 2 Los Angeles, CA 90013

 3 Telephone:       (213) 452-0071
   Facsimile:       (213) 452-0080
 4
                                 UNITED STATES BANKRUPTCY COURT
 5                                CENTRAL DISTRICT OF CALIFORNIA
                                           LOS ANGELES
 6
     In Re:                                          Case No.: 2:17-11972-RK
 7

 8 BEVERLY MONIQUE MURRAY-
                                                              %"$"*%)%)"%*"*%!)-&!*"(! -)%& %& %& %& %& %& %& &*!" ' )!1
                                                                                  119722
   CALCOTE
 9                                                   Chapter: 7

10                                                   NOTICE OF CONTINUED MEETING OF
                                                     CREDITORS AND APPEARANCE OF
11                                                   DEBTOR [11 USC 341(a)]
                           Debtor(s)
12
   COUNSEL: JULIE J VILLALOBOS
13 TO THE ABOVE NAMED DEBTOR(S):

14        You are hereby notified that the Meeting of Creditors pursuant to Title 11 U.S.C. Section
   341(a) in the above-entitled matter was continued to 02/16/18 at 09:00 AM at 915 WILSHIRE
15 BLVD., 10TH FLOOR, LOS ANGELES, CALIFORNIA 90017, for the reason set forth below:

16 NO APPEARANCE REQUIRED

17 - Provide a copy of the most current mortgage statement showing the balance owed and current
   property insurance including the policy number and effective dates
18 - Provide the last 90 days of bank statements from the petition filing date for each account (3) listed
   on Schedule B
19 - Amend Statement of Financial Affairs
               - Provide documentation of mother's ownership of bank account ending in 8541
20

21
     Dated:   January 17, 2018                         /s/ Rosendo Gonzalez
22                                                     ROSENDO GONZALEZ, TRUSTEE

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 1                                       PROOF OF SERVICE

 2                             CENTRAL DISTRICT OF CALIFORNIA
                                        LOS ANGELES
 3
      STATE OF CA, COUNTY OF LOS ANGELES
 4
             I’m employed in the county of Los Angeles, State of California. I am over the age of 18
 5    and not a party to the within action; my business address is 530 South Hewitt Street, Suite 148,
      Los Angeles, CA 90013.
 6
            On January 17, 2018, I served the foregoing document described as Notice of Continued
 7    Meeting on the interested parties in action.

 8       By placing true copies thereof enclosed in sealed envelope(s) addressed as follows:

 9       BEVERLY MONIQUE MURRAY-CALCOTE
         3166 WEST AVE M-2
10       LANCASTER, CA 93536

11       JULIE J VILLALOBOS
         OAKTREE LAW
12       10900 183RD ST STE 270
         CERRITOS, CA 90703
13

14

15       BY MAIL
           I deposited such envelope in the mail at Los Angeles, California. The envelope was
16         mailed with postage thereon fully prepaid.
           I am “readily familiar” with the firm’s practice of collecting and processing
17         correspondence for mailing. Under that practice it would be deposited with U.S. postal
           service on that same day with postage thereon fully prepaid at Los Angeles, California in
18         the ordinary course of business. Executed on January 17, 2018, at Los Angeles,
           California.
19         I declare under penalty of perjury under the laws of the state of California that the above
           is true and correct.
20

21                                                      /s/ VINCE BOWEN
                                                        VINCE BOWEN
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